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UNI'I`ED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Karl Monteii'o,
Plaintiff, : Civit Action No.: 3109-cv-30195-KPN
v.

NCB Managernent Services, Inc., et al.; and
DOES l-lO, inclusive,

Defendants.

 

STIPULATION OF DISMISSAL

WHEREAS, the parties to the above~entitied action have resoived the issues alleged in the
complaint in this action, and have negotiated in good faith for that purpose‘, and

WHEREAS, none of the parties to the above-captioned action is an infant or incompetent
person; and

WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;
IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their respective
counsel as follows that, pursuant to FRCP 4l(a)(i)(A)(ii), the above»captioned action is hereby

discontinued against Defendant NCB Management Services, Inc. With prejudice

 

 

Karl Monteiro NCB Management Seivices, lnc.
/s/ Sergei Lemberg /s/ Erin K. Higgins
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SO OR.DERED

